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                  IN THE UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF MARYLAND

 UNITED STATES                                  :
                                                :
                                                :
        v.                                      :         Case No. JKB-13-460
                                                :
 RICHARD SHUSTERMAN,                            :
                                                :
        Defendant                               :

                MOTION FOR LEAVE TO FILE SEALED MATERIALS

       Comes now Richard Shusterman, the Defendant, by and through Andrew R. Szekely,

Assistant Federal Public Defender, and hereby moves to seal the attached motion. The motion

contains detailed information about Mr. Shusterman’s health. Materials such as these are of a

private and confidential nature and should be shielded to protect Mr. Shusterman’s privacy.

       Wherefore, Mr. Shusterman requests that his motion be placed under seal.

                                            Respectfully submitted,

                                            James Wyda
                                            Federal Public Defender
                                              for the District of Maryland

                                            ___/s/________________
                                            Andrew R. Szekely (#16407)
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